
82 So. 3d 1232 (2012)
In re Shelley Ann MARTIN.
No. 2012-B-0328.
Supreme Court of Louisiana.
February 7, 2012.

ORDER
Considering the Petition for Interim Suspension for Threat of Harm filed by the Offence of Disciplinary Counsel,
IT IS ORDERED that Shelley Ann Martin, Louisiana Bar Roll number 31251, be and she hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19.2. Pursuant to Supreme Court Rule XIX, § 26(E), this order is effectice immediately.
FOR THE COURT:
/s/ Bernette J. Johnson
/s/ Justice, Supreme Court of Louisiana
